        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 1 of 20




                                   STATEMENT OF FACTS

        Your affiant,                       , is a Special Agent with the FBI assigned to the Newark
Field Division. In my duties as a special agent, I have been assigned to the Newark Field Division
for the past two years. Previously, I was a Customs and Border Protection Officer with the United
States Department of Homeland Security. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws. As such, I am an
“investigative or law enforcement officer” of the United States within the meaning of Title 18,
United States Code, Section 2510(7), that is, an officer of the United States who is empowered by
law to conduct investigations of, and to make arrests for, offenses enumerated in Section 2516 of
Title 18, United States Code.

                         Background – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 2 of 20




Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                 Facts Specific to Lee A. Giobbie

                                        Identification of GIOBBIE
       On or about March 2022, an FBI confidential human source (“CHS”) who has been deemed
credible and reliable previously, reported information that GIOBBIE, of Eastampton, New Jersey
was shown in open-source video and social media images taken near the U.S. Capitol Building
on 01/06/2021. Copies of the photographs are below:




               Photograph of Giobbie on January 6, 2021 outside the U.S. Capitol
           Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 3 of 20




Professional image provided by CHS on the left; Screenshot from open-source video taken at the
                                   Capitol on the right

       The CHS also provided a photograph of GIOBBIE obtained from a Facebook profile for
“Lee Giobbie.” In the picture posted to the “Lee Giobbie” Facebook account, GIOBBIE is
wearing the same bright green stocking hat with an eagle on the brim that he was wearing in the
image taken on January 6, 2021, on Capitol grounds.




                  Facebook image of Lee Giobbie wearing Eagles stocking cap 1

       1
           Found at: https://www.facebook.com/photo.php?fbid=1010046698097855.
        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 4 of 20




  Screenshot of GIOBBIE from open-source video from January 6, 2021, near the U.S. Capitol
                (left); Screenshot from “Lee Giobbie” Facebook profile (right).

       On January 11, 2023, a Confidential Human Source provided FBI Newark with
information that GIOBBIE was in several additional videos that had been posted to the internet
and were publicly accessible. An FBI Special Agent accessed and reviewed the identified videos
and identified GIOBBIE in each.

        GIOBBIE can be observed in the additional videos in a crowd of people on the East Front
of the Capitol outside of a restricted perimeter made up of bike rack barricades and being manned
by uniformed police officers. He was wearing a black leather jacket, a green knitted Eagles
stocking cap, blue jeans, white and gray “K-Swiss” sneakers, and black gloves, and was wearing
a black backpack, and holding a white and red bullhorn.
        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 5 of 20




Screenshot of Giobbie on the East Front of the Capitol outside of the restricted perimeter before
                           it was breached from open-source video

                            GIOBBIE’s Actions at the U.S. Capitol

        GIOBBIE was in the area just outside bike rack barricades that were set to establish the
restricted grounds of the U.S. Capitol on the morning of January 6, 2021. In multiple open-
source videos GIOBBIE used his cellular phone to stream the former President’s “Ellipse
speech” and held his cellular phone to the end of a bullhorn to amplify and broadcast the former
President’s “Ellipse speech” to the crowd that had gathered at the Capitol while the former
President was speaking at the Ellipse. In an open-source video that showed Giobbie
broadcasting the speech, portions of the speech and GIOBBIE’S responses can be heard. For
instance, when the former president said : “this is a phrase you all came up with, we will stop
the steal”; Giobbie said “stop the steal” simultaneously with the former president and then
shouted, “Stop the Steal!” a second time and shook his fist. The former president asked during
his speech, “does anyone believe Biden got 80 million votes”; Giobbie shouted “NO!” in
response. After the former president said: “we’re not going to let them silence your voices,” a
chant of “fight for Trump” broke out and Giobbie joined in. Giobbie continued to broadcast
using the bullhorn as the former president talked about a number of topics relating to the
certification of the electoral vote count by Congress occurring in the U.S. Capitol building on
January 6, 2021, including: 1) the former vice-president, Mike Pence, doing the right thing, 2)
that states want a revote, 3) that states want to re-certify, 4) voter fraud, and 5) going to the
Capitol to give Republicans pride. When the former president said, “we’re going to walk to the
Capitol,” Giobbie shouted “Yea!” in response.
        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 6 of 20




 GIOBBIE, near the East Front of the Capitol, holding a cellphone near the end of a bullhorn,
                    broadcasting the former president’s Ellipse speech




   Close up of GIOBBIE holding a cellphone to a bullhorn near the East Front of the Capitol
                                     before the breach

       GIOBBIE can be seen near the bike rack barricades on the East Front of the Capitol with
the U.S. Capitol building in the background and can be heard in open-source video speculating
with another rioter about what would need to happen for police snipers to use deadly force
        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 7 of 20




against the mob. Specifically, GIOBBIE said, “what would need to happen for police snipers to
start shooting?”




 GIOBBIE on the east front of the U.S. Capitol building discussing what it would take for police
                                      to use deadly force.

        GIOBBIE was recorded in open-source video repeatedly shouting, “move the gates!” near
the bike rack barricades on the East Front of the Capitol before they were breached.

        GIOBBIE observed and then walked toward other rioters while they were violently
pushing against bike rack barriers and police during the breach of the restricted perimeter near
the East Front of the U.S. Capitol grounds. He was recorded on open-source video repeatedly
saying, “we’re going in;” “the gates have been breached.”
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 8 of 20




Police guarding bike rack barricades during the violent breach of the restricted perimeter near
       the East Front with GIOBBIE identified by a yellow rectangle in the background.




Screenshot from open-source video of GIOBBIE, circled in yellow, moving toward the violent
                            breach of the restricted perimeter
        Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 9 of 20




       After other rioters pushed past police and bike rack barricades at the restricted perimeter
around the U.S. Capitol grounds, GIOBBIE moved a barricade as he entered the portion of the
U.S. Capitol grounds that were cordoned off and restricted from public access on January 6,
2021.




    GIOBBIE circled in yellow as he moved a bike rack barrier as he breached the restricted
                       perimeter on the East Front of the U.S. Capitol


        GIOBBIE then walked by police in riot gear and was one of the first rioters to the Central
steps of the U.S. Capitol building as police fell back and formed a new line there.
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 10 of 20




GIOBBIE, identified by a yellow rectangle, walking by riot police on restricted grounds near the
                            East Front of the U.S. Capitol building




 GIOBBIE, circled in yellow, at the Central steps to the U.S. Capitol building as police form a
                                new line to defend the Capitol

       GIOBBIE faced the crowd and shouted “stop the steal” through the bullhorn and by lead
chants of “USA” on the Central steps of the East Front of U.S. Capitol building,
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 11 of 20




   GIOBBIE on the Central Steps of the U.S. Capitol building shouting “Stop the Steal” and
                                          “USA”

       GIOBBIE then faced police on the Central steps and shouted “push, push, push, push,”
while standing one row back from other rioters who were pushing against the police line.
Additionally, GIOBBIE can be seen in open-source video as he pushed against other rioters who
were pushing against the police line on the Central steps. He then rushed by police to get to the
Rotunda Door of the U.S. Capitol building after the police line broke and a huge mass of rioters
rushed up the Central steps.
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 12 of 20




       Screenshot of GIOBBIE, circled in yellow, pushing against other rioters and then rushing
                           past police officers once the police line broke

       Near the Rotunda Door GIOBBIE shouted into the bullhorn “we need something to break
the door down!”




          Screenshot of GIOBBIE, circled in yellow, shouting about breaking the door down

       GIOBBIE appeared to film police with a cellular phone outside of the Rotunda Door as
they were attempting to defend the Door.
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 13 of 20




  Screenshot from open-source video of GIOBBIE as he appeared to film police defending the
                                       Rotunda Door

       GIOBBIE can be seen in open-source video in a tightly packed crowd of rioters, in a
confrontation with Capitol Police Officers trying to defend the Rotunda Door. During this
confrontation, a Capitol Police officer is seen grabbing GIOBBIE’s left arm, pushing GIOBBIE
away from the entrance. GIOBBIE then pushed the officer’s arm away and used his left forearm
to push against the officer’s riot shield.
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 14 of 20




        GIOBBIE’s left arm being grabbed by a police officer outside the Rotunda Door




       GIOBBIE pushing against police shield as rioters attempt to breach Rotunda Door

       Police deployed a flashbang munition and chemical sprays to attempt to clear the rioters
from the Rotunda Door. In spite of that, GIOBBIE was one of the first rioters to enter through the
Rotunda Door within minutes after it was breached by other rioters. He aggressively pushed his
way through the Rotunda Door as police were actively trying to defend it.
Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 15 of 20
Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 16 of 20
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 17 of 20




 Screenshot from open-source video of GIOBBIE (yellow rectangle) walking through the Small
                                      Senate Rotunda

GIOBBIE was briefly detained by a police officer in a hallway near a stairwell in the U.S.
Capitol building:




           GIOBBIE being detained by a police officer in riot gear in the U.S. Capitol
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 18 of 20




GIOBBIE walked to the northwest side of the Capitol building and exited through the Senate Wing
Door, leading out to the Northwest Courtyard.




   GIOBBIE exiting the Capitol building on the northwest side through the Senate Wing Door
       Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 19 of 20




             GIOBBIE in the Northwest Courtyard after exiting the Capitol building

        Based on the foregoing, your affiant submits that there is probable cause to believe that
LEE A. GIOBBIE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that LEE A. GIOBBIE violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

       Your affiant submits there is probable cause to believe that LEE A. GIOBBIE violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
Case 1:24-mj-00022-MAU Document 1-1 Filed 01/22/24 Page 20 of 20
